                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

 GLENN OLEKSAK,

                     Plaintiff,
          v.                                                Eastern District Case No. 2:19-cv-01167

 GATEWAY TECHNICAL COLLEGE,                                                Former Circuit Court for
                                                                                 Kenosha County
                     Defendant.                                              Case No. 19-CV-0674


                                      NOTICE OF REMOVAL


         Pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446, Defendant Gateway Technical

College (“Gateway” or the “College”) by its attorneys, Quarles & Brady LLP, hereby removes

this case to the United States District Court for the Eastern District of Wisconsin. The grounds

for removal are as follows:

         1.      On or about June 7, 2019, Plaintiff Glenn Oleksak (“Oleksak”) filed a Complaint

in the Circuit Court for Kenosha County, Wisconsin, Case No. 19-CV-0674, naming Gateway as

the sole Defendant. A copy of the Plaintiff’s Complaint is attached hereto as Exhibit A.

         2.      Without identifying any purportedly applicable federal law, the Complaint alleged

that Gateway “violated the rights of the plaintiff to due process of the law” by suspending him

for academic misconduct without proper notice and in a manner that was not consistent with its

internal procedures. (Ex. A at pp. 1-2, ¶¶ 3-4 and p. 4, ¶ 1). The Complaint demands judgment

in the form of: (i) “a declaration that the defendant has violated the plaintiff’s rights;” (ii)

immediate reinstatement; (iii) “[t]hat the suspension from Gateway Technical College be

expunged from his record and his final grade of B- be posted on his official transcript”; and (iv)

“that [Defendant] pay damages and attorney’s fees to the plaintiff.” (Ex. A at pp. 4-5). The


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Complaint sets forth no claims other than Plaintiff’s allegation that Defendant “violated [his]

rights…to due process of the law.”

         3.      On June 27, 2019, Gateway filed a motion to dismiss Plaintiff’s Complaint for

failure to state a claim upon which relief can be granted. Gateway’s motion to dismiss addressed

the Complaint’s numerous deficiencies, including that Plaintiff had not provided Gateway with a

state required notice of claim prior to filing his lawsuit and failed “to allege any law, much less

any legal authority whatsoever, that would allow the Court (or Gateway) to surmise the basis for

Plaintiff’s ‘due process’ theory.”

         4.      On July 16, 2019, Plaintiff filed a response to Defendant’s motion to dismiss

(“response”), a copy of which is attached as Exhibit B. Plaintiff’s response contends for the first

time that his Complaint should be “construed as a claim under the Civil Rights Act 42 U.S.C. §

1983,” and is therefore sufficient because “[f]ederal law preempts th[e] State notice requirement”

and protects his “due process right as [a] student.” (Ex. B at pp. 2-4). Plaintiff’s response

expressly acknowledges that “the Complaint does not cite 42 U.S.C. § 1983.” Id. at p. 3.

         5.      Since Plaintiff filed his July 16 response, there have been no further proceedings

for this matter in the Circuit Court for Kenosha County.

         6.      Removal to this Court is timely under 28 U.S.C. § 1446(b)(3), which provides

that “if the case stated by the initial pleading is not removable, a notice of removal may be filed

within thirty days after receipt by the defendant…of a copy of an amended pleading, motion,

order or other paper from which it may first be ascertained that the case is one which is or has

become removable.” 28 U.S.C. § 1446(b)(3).

         7.      The basis for Plaintiff’s claims could not be ascertained from the Complaint.

Indeed, the Complaint neither cite § 1983 (as Plaintiff admits in his response) nor any other



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federal statute or legal authority giving rise to Plaintiff’s claims. Removal based on the face of

the Complaint therefore was premature because a “defendant is powerless to introduce grounds

for removal into a plaintiff’s complaint on [its] own.” Jackson Cnty Bank v. Dusablon, 2018 WL

7204225 (S.D. Ind. June 7, 2018).

         8.      It was not unequivocally apparent that this case was removable until after

Gateway received Plaintiff’s response to its motion to dismiss wherein Plaintiff asserted for the

first time that the Complaint should be “construed” as a claim under § 1983 (despite its failure to

actually cite § 1983). Accordingly, Gateway has not waived its right to removal. See Walker v.

Trailer Transit, Inc., 727 F.3d 819, 823–24 (7th Cir. 2013) (“the defendant's actions in state

court can waive the right of removal only where it is unequivocally apparent that the case is

removable at the time those actions were taken”) (emphasis added); Jackson Cnty Bank, 2018

WL 7204225 at *6 (“the filing of a motion to dismiss in the state court does not constitute a

waiver of the right to remove…[and] absent some ‘extreme situation’ like fully trying the state

court case on the merits, the right to remove cannot be waived”).

         9.      Removal to this Court is proper because the Eastern District of Wisconsin

encompasses Kenosha County, where this action was filed. 42 U.S.C. § 1441(a). Further, this

Court has original jurisdiction over Plaintiff’s § 1893 claims under 28 U.S.C. § 1331.

Accordingly, Gateway is entitled to remove this suit because the action against it states a federal

question. See 28 U.S.C. § 1441(b).

         10.     The undersigned certifies that a copy of this Notice of Removal has been filed

with the Circuit Court for Kenosha County and served on the Plaintiff contemporaneous with its

filing with this Court, as required by 28 U.S.C. § 1446(d).




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         WHEREFORE, Gateway removes this action from the Circuit Court for Kenosha County

to this United States District Court for the Eastern District of Wisconsin.

         Dated: August 14, 2019.

                                                      QUARLES & BRADY LLP

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